OPINION — AG — HOUSE BILL NO. 593, IF ENACTED WOULD BE INVALID UNDER THE ARTICLE V, SECTION 59, ARTICLE V, SECTION 46 OKLAHOMA CONSTITUTION. IN THIS CONNECTION FOR SAKE OF BREVITY WE ARE ATTACHING HERETO A "MEMORANDUM OF AUTHORITIES ON VALIDITY OF LAWS BASED ON POPULATION AND/OR ASSESSED VALUATION CLASSIFICATION" WHICH WAS PREPARED BY THIS OFFICE (AG) (FRED HANSEN) ARTICLE V, SECTION 57